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                IN THE UNITED STATES DISTRICT COURT
                FOR THE MIDDLE DISTRICT OF ALABAMA
                         SOUTHERN DIVISION

LORENZO PEARSON,                         )
                                         )
            Plaintiff,                   )
                                         )
      v.                                 )      CASE NO. 1:17-CV-523-WKW
                                         )
SUN LOAN COMPANY                         )
ALABAMA, INC., BRUNDAGE                  )
MANAGEMENT COMPANY,                      )
INC., THOMAS BRUNDAGE,                   )
SUN LOAN COMPANY, INC.,                  )
and HUGH DOHERTY,                        )
                                         )
            Defendants.                  )

                              FINAL JUDGMENT

      In accordance with the prior proceedings, opinions, and orders of the court, it

is the ORDER, JUDGMENT, and DECREE of the court that this action is

DISMISSED with prejudice.

      The Clerk of the Court is DIRECTED to enter this document on the civil

docket as a final judgment pursuant to Federal Rule of Civil Procedure 58.

      DONE this 5th day of December, 2017.

                                   /s/ W. Keith Watkins
                                CHIEF UNITED STATES DISTRICT JUDGE
